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 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
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 7   UNITED STATES OF AMERICA,
                                                    NO: CR-11-12-RMP-1
 8                            Plaintiff,
           v.                                       ORDER GRANTING
 9                                                  DEFENDANT’S MOTION FOR
     WHEELER JOSEPH PAAVOLA,                        INDEPENDENT EXPERT TESTING
10                                                  AND ORAL MOTION TO
                              Defendant.            WITHDRAW HIS MOTION TO
11                                                  SEVER DEFENDANTS

12         Before the Court are the Defendant Wheeler Joseph Paavola’s Motion for

13   Independent Expert Testing, ECF No. 99, and Oral Motion to Withdraw the

14   Motion to Sever, ECF No. 55. The Court has reviewed the relevant pleadings and

15   the file and is fully informed. This order is intended to memorialize and

16   supplement the Court’s oral rulings at the pretrial hearing held on August 8, 2011

17   in Spokane.

18         Mr. Paavola has moved the Court to order the Government to make available

19   certain drug packaging items that were seized as evidence in this case. ECF No.

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     ORDER GRANTING DEFENDANT’S MOTION FOR INDEPENDENT
     EXPERT TESTING AND ORAL MOTION TO WITHDRAW HIS MOTION TO
     SEVER DEFENDANTS~ 1
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 1   99. The Government has not opposed the motion. ECF No. 102. At the hearing

 2   on August 8, 2011, it became clear that the parties sought flexibility in scheduling

 3   an inspection or analysis of the evidence in light of ongoing negotiations.

 4         Also at the August 8th hearing, Mr. Paavola orally moved the Court to

 5   withdraw his Motion to Sever Defendants, ECF No. 55. The Government did not

 6   oppose the oral motion.

 7         Accordingly, IT IS HEREBY ORDERED:

 8         1. The Defendant’s Motion for Independent Expert Testing, ECF No. 99, is

 9            GRANTED.

10         2. The Government shall make the drug packaging items seized as evidence

11            in this case available for inspection and analysis by the Defendant’s

12            expert. The parties shall confer to determine when and how such

13            evidence will be made available

14         3. The Defendant’s oral motion to withdraw his Motion to Sever

15            Defendants is GRANTED.

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     ORDER GRANTING DEFENDANT’S MOTION FOR INDEPENDENT
     EXPERT TESTING AND ORAL MOTION TO WITHDRAW HIS MOTION TO
     SEVER DEFENDANTS~ 2
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 1         4. The Defendant’s Motion to Sever Defendants, ECF No. 55, is hereby

 2            STRICKEN.

 3         IT IS SO ORDERED.

 4         The District Court Executive is hereby directed to enter this Order and to

 5   provide copies to counsel.

 6         DATED this 16th day of August, 2011.

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 8                                               s/ Rosanna Malouf Peterson
                                            ROSANNA MALOUF PETERSON
 9                                         Chief United States District Court Judge

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     ORDER GRANTING DEFENDANT’S MOTION FOR INDEPENDENT
     EXPERT TESTING AND ORAL MOTION TO WITHDRAW HIS MOTION TO
     SEVER DEFENDANTS~ 3
